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     EXECUTIVE SESSION

     PERMANENT SELECT COMMITTEE ON INTELLIGENCE,

     U.S. HOUSE OF REPRESENTATIVES,

     WASHINGTON, D.C.




           INTERVIEW OF:   JAMES CLAPPER




                            Monday, July 17, 2017

                               Washington, D.C.




           The interview in the above matter was held in Room HVC-304, the

     Capitol, commencing at 9:34 a.m.

           Present:   Representatives Rooney, Wenstrup, Schiff, Sewell, and

     Swalwell.
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    Appearances:




    For the PERMANENT SELECT COMMITTEE ON INTELLIGENCE:




    ALSO PRESENT:



    WALTER ZAMPELLA, LEGISLATIVE LIAISON



    For JAMES CLAPPER:



    KENNETH L. WAINSTEIN

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    The rest of us left.    As far as Iknow, it was only Director Carney and

    the President-elect.

          MR. ROONEY:    Did you personally discuss the dossier or any of the

    other intelligence related to Russian hacking?      You already said that

    you didn't leak it to the journalists, so Iassume that's a no, correct?

          MR. CLAPPER:     I'm sorry?

          MR. ROONEY:    Did you discuss the dossier or any other

    intelligence related to Russia hacking of the 2016 election with

    journalists?

          MR. CLAPPER:     No.

          MR. ROONEY:    Did you confirm or corroborate the contents o-F the

    dossier with CNN journalist Jake Tapper?

          MR. CLAPPER:     Well, by the time of that, they already knew about

    it.   By the time it was -- it was after -- Idon't know exactly the

    sequence there, but it was pretty close to when we briefed it and when

    it was out all over the place.      The media had it by the way.   We were

    kind of behind the power curve, because the media, many media outlets

    that Iunderstood had that, had the dossier for some time, as did people

    on the Hill.

          MR. ROONEY:    Do you have any idea how they had it, how they got

    it?

          MR. CLAPPER:     The media?

          MR. ROONEY:    Yes.

          MR. CLAPPER:     Ido not.

          MR. ROONEY:    Like Jake Tapper and those guys.   When did you first
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     become aware of the late December conversations between General. Flynn

     and Ambassador Kislyak?

           MR. CLAPPER:   Sometime after the New Year's holiday.     It would

     have been the first week in January.    And I can't pin the date down,

     but it was Tuesday, Wednesday, or Thursday of that week.   I don't know

     the exact day.

           MR. ROONEY:    Do you know who told you about the conversation?

           MR. CLAPPER: Bob Litt, my general counsel.

           MR. ROONEY:    What was your response when he told you?

           MR. CLAPPER:   Well, I was -- I was kind of disturbed about it,

     frankly.   We had just done -- announced sanctions on the 29th of

     December, you know, closing the dachas, expelling 35 of their

     intelligence operatives, and sanctioning some other people.    So it was

     disconcerting, I'll put it that way, to learn of that conversation.

           MR. ROONEY:    Right.   ❑id you share that --

           MR. CLAPPER:   Especially for me, since I have a long history with

     Mike Flynn.

           MR. ROONEY:    Well, and as you say, I mean not to editorialize

     here, but, you know, given our relationship with Russia over the

     decades, I think that, as you testified and as you stated earlier, it's

     certainly not something that, you know, General Flynn should have been

     doing, not being a member of the government.

           Did you ever brief President Obama on the phone call, the

      Flynn-Kislyak phone calls?

           MR. CLAPPER:    No.
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          MR. ROONEY:    Did you brief President Obama on any other

    intelligence involving the Trump campaign or transition team?

          MR. CLAPPER:    Well, we had -- by brief, I would include PD8

    articles that were reported.     And, o-F course, ODNI has a responsibility

    for the PDB.   So there was a series of reports through the summer and

    into the fall about, in general, Russian activity, that sort of thing.

          The only time I actually had a briefing on the subject, if you

    want to call it that, was when the Intelligence Community assessment

    came out, we sent it to the White House first, my recollection is the

    morning of the 5th of January.    And then that afternoon I had a hearing

    with the Senate Armed Services Committee.        I remember that very

    distinctly.    And then the next day -- because we felt obliged, since

    President Obama had tasked us, to brief him first.

          And then the next day, we briefed the Gang of Eight here in the

    early morning, and then flew up to New York and briefed the

    President-elect and his team on the 6th of January.

          MR. ROONEY:    Do you know how Deputy Attorney General Yates

    learned of the Flynn-Kislyak phone call?

          MR. CLAPPER:    Well, I surmise that --




               So I'm assuming it was done under that basis.

          MR. ROONEY:    So you weren't with her when she learned of it?    Do

    you know that?

          MR. CLAPPER:    Was I physically with her?
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             MR. ROONEY:    Yes.

             MR. CLAPPER:    No.

             MR. ROONEY:    Okay.   On January 12th of 2017, do you know how many

      people had knowledge of the Flynn-Kislyak phone call?

             MR. CLAPPER:    How many people?

             MR. ROONEY:    Yes.

             MR. CLAPPER:    No, I don't.

             MR. ROONEY:    Okay.

             MR. CLAPPER:




             MR. ROONEY:    Yeah.    No, the reason for this line of questioning

     is we're obviously trying to figure out how something like this becomes

      available to people in the Washington Post and David Ignatius and the

     like.    Do you have --

             MR. CLAPPER:    That's a great question.

             MR. ROONEY:    Okay.    So you don't --

             MR. CLAPPER:    I don't have any --

             MR. ROONEY:    -- have any guidance on that?

             MR. CLAPPER:    I would -- I guess the inference, though, it could

      have been from a lot of sources.

             MR. ROONEY:    Yes.    And that's going to lead me into my next line

      of questioning, which I'm running out of time.        So I'm going through

      any questions here, a lot of which you've already answered, so if you'd

      just give me a second so I can skip over.
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          When Vice President Ithink elect at that point Pence defended

    General Flynn on television, publicly claiming that Flynn told him the

    calls weren't related to sanctions, did you have any communication with

    Vice President-elect Pence regarding the nature of those calls after

    he made those statements?

          [10:33 a.m.]
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           MR. CLAPPER:   No, Idid not.     I think that appearance, i
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     remember correctly, was on the 17th of January.

           MR. ROONEY:    Right.

           MR. CLAPPER:    And Iwas very alarmed by it after being aware

     of -- and all I saw, by the way, was a gist of the conversation.      I

                                          But Iwas very concerned about it.

     Ifelt that that needed to be raised with the White House.

           And Idid breach that with -- Idiscussed it with both John Brennan

     and ultimately Director Convey about -- Ithink Idid that -- Ihad that

     discussion the evening of the 19th of January.     But Idid not raise

     it directly with the Vice President-elect.

           MR. ROONEY:    Okay.    Finally, Iwant to talk about unmasking,

     because obviously, you know, we've -- I'm the new subcommittee chairman

     on the NSA, along with Mr. Himes, and, you know, we've got a tough lift

     this fall with reauthorization.

           And, you know, obviously, whether it's people on the left or

     people on the right, people are suspicious o-F the work that you guys

     do in the Intelligence Community, and that, you know, people are reading

     our emails and listening to our phone calls or, you know, in this case

     unconstitutionally being outed or unmasked, you know, when gathering

     evidence.

           So to help us potentially with regard to the reauthorization,

     we've got a lot of information with regard to people maybe at your level

     or Cabinet level who can request -- and I'm not saying you do this,
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     but I'm saying that we've seen a wide variance on what the reason why

     somebody would be unmasked.

           And excuse the sort of, you know, snarkiness of this, some people

     say, I want this person unmasked because I want them unmasked, and it's

     approved.   And this might be more appropriate for Admiral Rogers,

     but -- and some people give a detailed explanation of why this person

     should be unmasked.

           Moving forward, do you think that 702 should be reauthorized with

     amendments that give more detail or stay the same with regard to how

     a U.S. person is unmasked or a request for unmasking?

           To be more clear, should the Congress reauthorize 702 with a more

     stringent explanation of why a U.S. person should be unmasked, even

     somebody as high as a Cabinet level position?    Or should there be more

     uniformity, do you think, in the request and how it's requested?

           MR. CLAPPER:    Yeah.   Currently, the -- for me, there's -- and I

     made unmasking requests not every day, but fairly often when I

     was -- during the 6 and a half years I was DNI and before all this came

     up.   And really, whatever rationale people write, it really boils down

     to one thing, which is to understand the context of the particular

     SIGINT report you're reading.

           So when there are references to U.S. person 1, U.S. person 2, and

     U.S. person 3, et cetera, it's a little hard to figure out the

     significance of that report.     And, of course, U.S. person 1 will be

     a different U.S. person 1 the next report.    So it's hard to read these

     things anecdotally or just scan through them and draw, you know, the
